Filed 10/08/19                          Case 19-21640                               Doc 133



                               UNITED STATES BANKRUPTCY COURT
                               EASTERN DISTRICT OF CALIFORNIA
                                        CIVIL MINUTES
            _____________________________________________________________________
            Case Title: Debora Leigh Miller-   Case No.: 19-21640 - B - 11
            Zuranich
                                               Docket Control No.
                                               Date: 10/08/2019
                                               Time: 2:00 PM

            Matter: Status Conference Re: Voluntary Petition - [1] - Chapter 13
            Voluntary Petition Individual Missing Document(s): Statement of
            Financial Affairs; Summary of Assets and Liabilities; Chapter 13
            Plan;Schedule A/B - Real and Personal Property; Schedule C - Exempt
            Property; Schedule D - Secured Creditors;Schedule E/F - Unsecured
            Claims; Schedule G - Exec. Contracts & Unexpired Leases; Schedule H -
            Codebtors; Schedule I - Current Income of Individual; Schedule J -
            Current Expenditures; Form 122C-1 - Chapter 13 Statement of Your
            Current Monthly Income and Calculation of Commitment Period;
            Document(s) due by 4/1/2019. (Fee Paid $310.00) (shes)

            Judge: Christopher D. Jaime
            Courtroom Deputy: Danielle Mobley
            Reporter: Electronic Record
            Department: B
            _____________________________________________________________________
            APPEARANCES for:
            Movant(s):
            None
            Respondent(s):
            (by phone) Creditor's Attorney - Dean T. Kirby Jr.; Creditor's
           Attorney - Jonathan C. Cahill; Debtor's Attorney - Lauro Faliceano
            _____________________________________________________________________
                                        CIVIL MINUTES


           Status conference Dropped from calendar
           Case reconverted to a chapter 7.
